
HELENE N. WHITE, Circuit Judge,
concurring.
I agree that plaintiffs made no showing that Wervey’s letter had any connection to the allegedly wrongful entry into the home. Nor have plaintiffs shown that the City of Garfield Heights has a policy or custom of entering homes in violation of Fourth Amendment rights of homeowners.
I concur as to the remaining defendants on the narrow basis that the individual defendants are entitled to qualified immunity where they acted pursuant to the request of the authorized property-protection company after viewing the property and confirming that the property appeared vacant and in the process of being damaged by abandoned cats.
For the same reasons, the district court correctly determined that the defendants did not act recklessly.
